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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 1/3/2021
                                                                       :
ROBERT WELLS,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :      20-cv-10861 (LJL)
                  -v-                                                  :
                                                                       :   ORDER OF SERVICE AND
SOCIAL SECURITY ADMINISTRATION,                                        :    SCHEDULING ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Clerk of Court shall notify the U.S. Attorney’s Office for the Southern District of
New York of the filing of this pro se case, brought under 42 U.S.C. § 405(g), for which the filing
fee has been waived.

       In accordance with the Standing Order “Motions for Judgment on the Pleadings in Social
Security Cases,” 16-MC-0171 (Apr. 20, 2016):

       Within 90 days of the date of this Order, the Commissioner must serve and file the
Electronic Certified Administrative Record (e-CAR), which will constitute the Commissioner’s
answer, or otherwise move against the complaint.

       If the Commissioner wishes to file a motion for judgment on the pleadings, the
Commissioner must do so within 60 days of the date on which the e-CAR was filed. The motion
must contain a full recitation of the relevant facts and a full description of the underlying
administrative proceeding.

       Plaintiff must file an answering brief within 60 days of the filing of the Commissioner’s
motion. The Commissioner may file a reply within 21 days thereafter.


        SO ORDERED.


Dated: January 3, 2021                                     __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
